 19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 1 of
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   DECLARATION OF JONATHON FARAHI


                               THE UNITED STATES BANKRUPTCY COURT
 1                              FOR THE WESTERN DISTRICT OF TEXAS
 2                                     SAN ANTONIO DIVISION

 3   _________________________________________
                                              )             CHAPTER 7
 4   IN RE:                                   )
                                              )             CASE NO. 19-50900-CAG
 5   LEGENDARY FIELD EXHIBITIONS, LLC; )
 6   AAF PLAYERS, LLC;                        )             CASE NO. 19-50902-CAG
                                              )
 7   AAF PROPERTIES, LLC                      )             CASE NO. 19-50903-CAG
                                              )
 8   EBERSOL SPORTS MEDIA GROUP, INC. )                     CASE NO. 19-50904-CAG
                                              )
 9   LFE 2, LLC;                              )             CASE NO. 19-50905-CAG
10                                            )
     WE ARE REALTIME, LLC,
                                              )             CASE NO. 19-50906-CAG
11              Debtors.                      )
                                              )             SUBSTANTIVE CONSOLIDATION OF
12                                            )             ALL 6 CASES INTO ONE CASE,
                                              )             LEGENDARY FIELD EXHIBTIONS, LLC,
13
                                              )             CASE NO. 19-50900-CAG
14                                            )
                                              )             JOINTLY ADMINISTERED UNDER
15                                            )             CASE NO. 19-50900-CAG
                                              )
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17                                  DECLARATION OF JONATHON FARAHI

18   I, JONATHON FARAHI, being duly sworn, depose and declare the following:

19          1.      I am an attorney duly licensed to practice law in the State of California (SBN #324316)
20   and have been and continue to be in good standing with the State Bar of California.
21
            2.      I am Of Counsel to the law firm Abir Cohen Treyzon Salo, LLP, counsel of record for
22
     Creditors Colton Schmidt and Reggie Northup, individually and on behalf of others similarly situated
23
     (collectively, “Creditors”).
24

25          3.      The above-captioned matter is a core bankruptcy proceeding being administered under 28

26   U.S. C. § 157. I have been authorized by the Court to appear pro hac vice on behalf of the Creditors

27   (ECF No. 171).
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 19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 2 of
                                         14
   DECLARATION OF JONATHON FARAHI


             4.      I submit this Declaration as an Addendum to Creditors’ Colton Schmidt and Reggie
 1

 2   Northrup, individually and on behalf of all others similarly situated’s Exhibit List in advance of the

 3   hearing scheduled for August 19, 2019 at 10:00 AM on Chapter 7 Trustee’s Randolph N. Osherow

 4   (“Trustee”) Motion for Approval of Settlement Agreement with MGM Resorts International
 5
     Operations, Inc. (“Motion”).
 6
             5.      On August 7, 2019, Boris Treyzon of this office, Mr. Brian Engel, counsel for the
 7
     Trustee, and myself met and conferred via teleconference regarding the parties’ respective Exhibit and
 8
     Witness lists. During the call, we informed Mr. Engel that Creditors’ Counsel plans to offer into
 9

10   evidence an Article from the news publication “USA Today” entitled “Pro football league AAF is using

11   technology that may revolutionize pro sports and gambling” written by Brent Schrotenboer on February
12   14, 2019. The article is being offered into evidence to show that: 1) the value of the intellectual property
13
     at issue is significantly greater than the value being offered by MGM, therefore making the proposed
14
     Settlement unfair, unreasonable and inadequate; 2) both MGM and Debtors’ believed the value of the
15
     asset exceeds the current offer made to the Trustee; and 3) as evidence of the Debtors’ Founder belief as
16

17   to the true value of the asset.

18           6.      In an email from Mr. Engel to our office on August 12, 2019, Mr. Engel informed our

19   office that the Trustee would be willing to stipulate to the admission of the article solely for the purpose
20   of showing Debtors’ founder’s belief. The Trustee’s counsel would not be willing to stipulate that the
21
     article is evidence of the value of the intellectual property. The Parties have not disputed the authenticity
22
     or the reliability of the article. Throughout the entire, meet and confer process, Mr. Engel has exuded
23
     nothing but true professionalism.
24

25           7.      A material dispute exists to the admissibility of the above mentioned USA Today Article,

26   which Creditors’ counsel hopes this Court can decide in advance of the hearing on the hearing

27   scheduled for August 19, 2019 at 10:00 AM on Chapter 7 Trustee’s Randolph N. Osherow (“Trustee”)
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                                                          2
 19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 3 of
                                         14
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     Motion for Approval of Settlement Agreement with MGM Resorts International Operations, Inc.
 1

 2   (“Motion”).

 3          8.      In the USA Today article, Mr. Ebersol, co-founder of Debtors’ stated “the real place

 4   where we make revenue is in the back-end technology and how it can be sold to other partners…A lot of
 5
     what this business is about being an iceberg. You see about 10 percent of what the company is above
 6
     water publicly.” See Exhibit A attached hereto.
 7
            9.      The article further states, “Investors are so bullish on it (the intellectual property at issue)
 8
     that Ebersol said it plans to spend $500 million to $750 million in the next five years to get off the
 9

10   grounder. The investors include Silicon Valley venture capitalists and MGM Resorts International, one

11   of the biggest casino companies in the world.”
12          10.     In the same article, Scott Butera, president of interactive gaming at MGM states, “It’s
13
     (the intellectual property at issue) not fully functional, but it’s almost there…What it will do, which is
14
     very important to us from a sports betting standpoint, is it will allow almost immediate transmission of
15
     data and what’s going on in an event to your mobile device, which will allow us to have play-by-play
16

17   gambling, which is non-existent today.”

18          11.     Ebersol also states in the article, “You’re talking about tens of millions in points of data

19   that we’ve figured out how to compress and deliver it in real time, so any industry that needs to take that
20   level of data and then compress it and deliver it instantly can use that application. Obviously, the
21
     application out of the gate is the gambling platform, but we’re doing it for a variety of other partners.”
22
            12.     Mr. Ebersol’s statements in the article are being submitted into evidence under the
23
     Federal Rules of Evidence: 1) Rule 801(d)(2); 2) Rule 803 (3); and Rule 807.
24

25          13.     Mr. Butera’s statements in the article are being submitted into evidence under the Federal

26   Rules of Evidence: 1) Rule 801(d)(2); 2) Rule 803 (3);

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 19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 4 of
                                         14
   DECLARATION OF JONATHON FARAHI


             14.     The disputed sports gambling technology, which is the subject of the Chapter 7 Trustee’s
 1

 2   Fed. R. Bankr. P. 9019 Motion, is, upon information and belief, the only asset of value to the Debtors’

 3   bankruptcy estates. Approval of the Chapter 7 Trustee’s Fed. R. Bankr. P. 9019 Motion would be

 4   detrimental to the Creditors, who subjected themselves to serious risk of physical harm and damage to
 5
     their health.
 6

 7                                                        Respectfully submitted,
                                                          ABIR COHEN TREYZON SALO, LLP
 8

 9                                                        /s/ Jonathon Farahi
                                                          Jonathon Farahi, Esq. (SBN 324316)
10

11                                                        Counsel for Creditors and Party-In-Interests
                                                          Colton Schmidt and Reggie Northup, individually
12           Dated: August 14, 2019                       and on behalf of others similarly situated

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19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 5 of
                                        14




              EXHIBIT A
19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 6 of
                                        14




                                                            CREDITORS’ EXHIBIT 6 -001
19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 7 of
                                        14




                                                            CREDITORS’ EXHIBIT 6 -002
19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 8 of
                                        14




                                                            CREDITORS’ EXHIBIT 6 -003
19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 9 of
                                        14




                                                            CREDITORS’ EXHIBIT 6 -004
19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 10
                                      of 14




                                                           CREDITORS’ EXHIBIT 6 -005
19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 11
                                      of 14




                                                           CREDITORS’ EXHIBIT 6 -006
19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 12
                                      of 14




                                                           CREDITORS’ EXHIBIT 6 -007
     19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 13
                                           of 14
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                                THE UNITED STATES BANKRUPTCY COURT
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14                                             )
                                               )                JOINTLY ADMINISTERED UNDER
15                                             )                CASE NO. 19-50900-CAG
                                               )
16

17                                        CERTIFICATE OF SERVICE

18           True copies of the foregoing DECLARATION OF JONATHON FARAHI will be served or

19    were served on all registered CM/ECF participants via the Court’s electronic notification procedure and
20    the following parties via United States Postal Service.
21
             William A. (Trey) Wood, III                            Russell W. Mills
22           Bracewell LLP                                          Bell Nunnally & Martin
             711 Louisiana Street, Suite 2300                       2323 Ross Avenue, Suite 1900
23           Houston, TX 77002                                      Dallas, TX 75201
24
             David S. Gragg                                         Randolph N. Osherow
25           Langley & Banack, Inc                                  342 W Woodlawn Avenue, Suite 100
             Trinity Plaza II                                       San Antonio, TX 78212
26           745 E Mulberry Avenue, Suite 900
             San Antonio, TX 78212
27
      ///
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     19-50900-cag Doc#210 Filed 08/14/19 Entered 08/14/19 16:34:49 Main Document Pg 14
                                           of 14
       DECLARATION OF JONATHON FARAHI


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 2          Brian S. Engel                                  Kell C. Mercer, PC
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17                                                   Respectfully submitted,
                                                     ABIR COHEN TREYZON SALO, LLP
18
                                                     /s/ Jonathon Farahi
19                                                   Boris Treyzon, Esq. (SBN 188893)
                                                     Jonathon Farahi, Esq. (SBN 324316)
20

21          Dated: August 14, 2019                   Counsel for Creditors Colton Schmidt, and
                                                     Reggie Northup, individually and on behalf of
22                                                   others similarly situated

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